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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                           )      Case No. 1:24-CR-00017
                                                    )
                  Plaintiff,                        )      JUDGE DONALD C. NUGENT
                                                    )
           v.                                       )      MOTION TO FILE UNDER SEAL
                                                    )
MUZZAMMIL MUHAMMAD AL                               )
ZUBAIR,                                             )
  AKA MUZZAMMIL IBN MUHAMMAD                        )
                                                    )
                 Defendants.                        )



       Now comes Defendant Muzzammil Muhammad Al Zubair (“Muzzammil”) who, by

and through undersigned counsel, hereby respectfully moves this Court for an order to file

Muzzammil’s Financial Affidavit document CJA-23 under seal.

       For cause, the Defendant asserts that the above-described affidavit contains

confidential and sensitive information which at this juncture should not be public record.


                                             Respectfully submitted,

                                                    /s/ Allyson R. Cady
                                                    Allyson R. Cady (0098830)
                                                    BENESCH, FRIEDLANDER, COPLAN &
                                                    ARONOFF LLP
                                                    127 Public Square Suite 4900
                                                    Cleveland, OH 44114-1304
                                                    mdarden@benesch.com
                                                    Telephone: 216.363.4440
                                                    Fax: 216.363.4588
                                                    Attorney for Defendant, Muzzammil
                                                    Muhammad Al Zubair
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2024, a copy of the foregoing Motion was

electronically filed. Notice of this filing will be sent to counsel of record by operation of the

Court’s electronic filing system.




                                                    /s/ Allyson R. Cady
                                                    Allyson R. Cady (0098830)

                                                    Attorney for Defendant, Muzzammil
                                                    Muhammad Al Zubair
